Case 1:05-cv-01033-tmp Document 9 Filed 06/13/05 Page 1 of 4 Page|D 12

IN THE UNITED STATES DISTRICT COURT Pz;;;;n @y '
FoR THE WESTERN DISTRJCT oF TENNESSEE "" ~'--D C

001-089-00

EASTERN DIVISION 05 JUN §
MICHAEL LEE SHoRTS ) la AH 8- l6
Plalntlff ) fn ___zr P~l.H HD} TROUO
) -LEHK, U.S D_lST CT_
v. ) NO. 1 05 10@\;3€£/@5 m JACKSON
)
BENDELL BARTHOLOMEW Individually and )
in his official capacity, CARROLL COUNTY )
SHERRIFF and COUNTY OF CARROLL )
Defendant(S) )

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference Set by written notice, the following dates are established as the
final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):

June 21, 2005

JOINING PARTIES:
For Plaintiff: July 21, 2005
For Defendant: August 21, 2005
AMENDING PLEADINGS
For Plaintiff: July 21, 2005
For Defendant: August 21, 2005

COMPLETING ALL DISCOVERY: January 21, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS
FOR ADMISSIONS: January 21, 2006

(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff’ S Expertsz November 2l , 2005
(ii) Defendant’s Experts: December 2l, 2005
(iii) Supplernentation under Rule 26(€)(2): Decernber 31, 2005

(c) DEPOSITIONS OF EXPERTS: January 2l, 2006

FlLING DISPOSITIVE MOTIONS: January 30, 2006

Thls document entered on the docket sheet In complianc
wim nme ss and/or 19 (a) FacP on _LLI_B_[_O_S

' Case 1:05-cv-01033-tmp Document 9 Filed 06/13/05 Page 2 of 4 Page|D 13
FINAL LIST OF WTINESSES AND EXHIBITS (Rule 26(a)(3)):

wmch /.i’ 2006 SfA~
(a) forPiainaa-‘; aesfam-y-H€aé)e

(b) for Defendant: April l, 2006
Parties shall have § days after service of final lists of witnesses and exhibits to file objections
under Rule 26 (a)(3).

The trial of this matter is expected to last 2 to 3 days and is SET for .]URY TRIAL on Monday,
May l, 2006 at 9:30 A.M. A joint pre-trial order is due on Friday April 21, 2006. In the event the parties are
unable to agree on a joint pre-trial order, the parties must notify the court at least ten days before trial.
OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted to the
opposing party in sufficient time for the opposing party to respond by the deadline for completion of
discovery. For example, if the FRCP allow 30 days for a party to respond, then the discovery must be
submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days
of the default or service of the response, answer, or objection which is the Subject of the motion if the
default occurs within 30 days of the discovery deadline, unless the time for filing of such motion is
extended for good cause shown, or any objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)( l )(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and a
Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may file an
additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall
file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can normally
provide the parties with a definite trial date that will not be continued unless a continuance is agreed to by
all parties, or an emergency arises which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private mediation on
or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice. Absent good
cause shown, the scheduling dates set by this Order will not be modified or extended.

ir rs so oRDERED. ,_,____ '
<5>. /AMM<$ (@, l

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: %4 /0,, Zoo{
d

Case 1:05-cv-01033-tmp Document 9 Filed 06/13/05 Page 3 of 4 Page|D 14
APPROVED FOR ENTRY

PENTECOST, GLENN & RUDD, PLLC

By: 1510/ida 6 Mi'fm

James l. Pentecost #11640
Brandon O. Gibson #21485
Attorneys for Defendants
106 Stonebridge Blvd
Jackson, Tennessee 38305
(731) 668-5995

    

12690 Lexington Street
PO Box 711
Huntingdon, TN 383-44

CERTIFICATE OF SERVICE

This is to certify that 1 served a copy of this pleading or paper personally or by mail upon each
attorney or firm of attorneys appearing of record for each adverse party on or before the filing date thereof

DATE;ThiS the 7*h day ofJune, 2005.

PENTECOST, GLENN & RUDD, PLLC

By: (`gmdwi? 0 9;:/79_®)

Brandon O. Gibson
SERVED UPON:

Benjamin S. Dempsey
12690 Lexington Street
PO Box 711
Huntingdon, TN 38344

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01033 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Benjamin S. Dempsey

LAW OFFICES OF BENJAMIN S. DEl\/[PSEY
P.O. Box 71 1

12690 Lexington Street

Huntingdon, TN 38344

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable .l ames Todd
US DISTRICT COURT

